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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

ALLEN DOUGLAS HALE, III PLAINTIFF
VERSUS CIVIL ACTION NO, 1:16-cv-113-LG-RHW

CITY OF BILOXI, MISSISSIPPI;

KENNETH GARNER, Individually;

DARREN LEA, Individually; and

JOHN AND JANE DOES 1-10, Individually DEFENDANTS

PLAIN TIFF’S ANSWERS TO FIRST SET OF INTERROGATORIES
PROPOUNDED TO PLAINTIFF BY CITY OF BILOXI, MISSISSIPPI

The Plaintiff, Allen Douglas Hale, IN, pursuant to Fed. R. Civ. P. 33 and the
Amended Case Management Order entered in this cause, hereby submits the following
Answers to the First Set of Interrogatories Propounded to Plaintiff by City of Biloxi,

Mississippi, stating as follows:

PRELIMINARY RESPONSES
A. The following answers reflect the current state of Plaintiff's knowledge,
understanding, and belief respecting matters about which inquiry has been made.
Plaintiff expressly reserves his right to supplement or modify these answers with such
pertinent information as he may hereafter discover or as may be informed by the opinions
of experts retained by the parties to testify in the trial of this matter, and will do so to the
extent required by the Federal Rules of Civil Procedure. Plaintiff expressly reserves the

right to rely on, at any time including trial, subsequently discovered documents and/or

EXHIBIT
if "

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Interrogatory No. 22: Please identify each and every medical provider you have
seen or who has examined and/or treated you as a result of the claims outlined in your
Complaint.

Answer: Garden Park Medical Center; American Medical Response/Mobile-
Medic Ambulance Service; Robert L. Brunston, M.D.; Physical Medicine & Rehab, LLC;
Dr. Simone J. Simone.

Interrogatory No. 23: Please identify each and every medical provider you have
seen or who has examined and/or treated you for any reason during the past ten (10)
years.

Answer: In addition to the medical providers listed in my answer to Interrogatory
No. 23, [have seen or been examined/ treated by Dr. Tsang, Pain Stop Clinic in Biloxi, MS
for a wrist injury in what I think was 2013, Otherwise, whenever I was sick I just went to
a urgent care clinic or a similar clinic.

Interrogatory No, 24: Please identify each and every pharmacist you have utilized
for any prescription during the past five (5) years.

Answer: The only ones I can remember are Walgreens in D’Iberville, Mississippi;
Wal-Mart in D’Iberville, Mississippi.

Interrogatory No. 25: Describe each and every fact that you contend supports
your allegations against the City of Biloxi in Paragraph XLV of your Complaint that the
City of Biloxi established customs, policies, practices, and procedures that showed
deliberate indifference to and caused a violation of your constitutional rights on April 15,

2015, and, in connection with your answer, identify all persons having discoverable

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knowledge of your answer to this interrogatory, identify all documents that you contend
support the facts set forth in answer to this interrogatory, and identify all persons whom
you expect to call as witnesses at the trial of the case, including name, address, telephone
number and occupation to testify about these facts,

Answer: The City of Biloxi established customs, policies, practices, and
procedures that showed deliberate indifference to and caused a violation of my
constitutional rights by failing to adhere to and train officers of the Biloxi Police
Department in proper protocols and techniques for the use of conducted electrical
weapons, e.g., Taser, because the proper protocols and techniques call for an officer to
use a loud “Taser, Taser, Taser” warning to make sure other officers that are present
know that a gun shot was not fired.

As discovery in this case is ongoing, Plaintiff reserves the right pursuant to the
Federal Rules of Civil Procedure to supplement this Answer in a timely manner.

Respectfully submitted, this the Qerth day of September, 2016.

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